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                          UNITED STATES BANKRUPTCY COURT
                            DISTRICT OF SOUTH CAROLINA
                                   (SPARTENBURG)

In re:

MELVIN LEONARD WIMMER                               Case No. 17-03751-hb

                                                          Chapter 7
                Debtor.

_______________________________________/


               NOTICE OF WITHDRAWING PROOF OF CLAIM FILED BY
                THE U.S. SECURITIES AND EXCHANGE COMMISSION

         The U.S. Securities and Exchange Commission (the “Commission”), through

undersigned counsel, gives notice that the Commission withdraws the following proof of claim

filed in this case:

                Claim 15-1 filed on January 11, 2018.

Claim 15-1 is a protective proof of claim and is being withdrawn because the Commission staff

has decided not to recommend any monetary claims against the Debtor. No objection has been

filed to the SEC’s proof of claim.




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       Dated December 17, 2018

                                             Respectfully submitted,

                                                  /s/ David W. Baddley
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                                             Bankruptcy Counsel
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                                             EXCHANGE COMMISSION
                                             Atlanta Regional Office
                                             950 East Paces Ferry Road, Suite 900
                                             Atlanta, Georgia 30326-1382


                              CERTIFICATE OF SERVICE

       I certify that a true and correct copy of the foregoing Notice was served this 17th day of

December, 2018 upon all ECF Participants via the Court’s CM/ECF filing system.


                                                    /s/ David W. Baddley




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